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(CFP)
Martinez,
 From:    Adam
Bishop,
Paoletta,
(OFPB)
 To:      James; Mark
Gueye,
Srybala,
(CPB);
Young,
(CFPB);
(CFPB)
 Ce:      Jafnar Julla Christopher
 Subject: CPF and Funding Transfer
 Date:    Tuesday, February 11, 2025 12:36:29 PM


      Hi Dan and Mark —


      I wanted to introduce you both to Jafnar Gueye, our Chief Financial Officer. There
      are two itemshe is ready to assist on.

         1. At your conveniencehewill be ready to provide you a briefing on the Civil
            Penalty Fund including the contractor/vendorthat serves as the Bureau's
             intermediary and the process for disbursements of funds to consumers.
         2. Jafnar is currently in communications with the Federal Reserve regarding the
            Bureau's ability to return moneyto either Treasury or the Federal Reserveif
           needed. He can provide you with an update and perhaps how the moneyis
           transferred to us, whichis unique.

      Adam


      Adam Martinez
      Chief Operating Officer
